Case 2:O4-cr-20044-.]DB Document 23 Filed O7/O7/O§ Page 1 of 2 Page|D 2§

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UNITED sTATEs oF AMERICA CLEHK U'S~ 353 WOOUF?'T
’ W/n 0.¢ mrs
name
vs. Case No. 04cr20044-B

JlMMY W. HART

Defendant.

 

ORDER REFUNI)ING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied With the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $100.00,
payable to Leslie Zwo|le at 4548 Portersville, Atoka, TN 38004 in full refund of the cash appearance

bond posted herein.

 

. § NIEL BREEN \
Un` ed States Distriot Judge

Approved.
Thomas M. Gould, Clerk of Court

BY; ZL/L(jz:m/ gilmpr

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CR-20044 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

Terrell L. Harris

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Honorable J. Breen
US DISTRICT COURT

